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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In re: PETROBRAS SECURITIES LITIGATION                                14 CIVIL 9662 (JSR)
                                                                       JUDGMENT.
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         It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated June 22, 2018, the Court grants the motion of Class

Plaintiffs for certification of the Settlement class and for final approval of the Settlement

Agreement and Plan of Allocation; the Court also grants in part Class Counsel's motion for fees

and costs, awarding in fees $300,000 to USS, $50,000 to North Carolina, $50,000 to Hawaii,

$170,880,000 to Pomerantz, $13,350,000 to Labaton, and $2,314,000 to Motley Rice, and

$14,515,234.24 plus the costs expended by Pomerantz on 27 foreign contract attorneys to Class

Counsel in costs; the Court also grants in part the motion of BLBG, awarding BLBG fees in an

amount to be determined by Class Counsel to be paid from Class Counsel's fee award and

$872,673.04 in costs to be paid from the Settlement Fund; grants in full Wolf Popper's motion,

awarding Wolf Popper $107 ,629 in fees to be paid from Class Counsel's fee award and $1,219 .66

in costs to be paid from the Settlement Fund; grants in full Almeida's motion, awarding Almeida

$200,000 in fees to be paid from Class Counsel's fee award; and grants in full KSF's motion,

awarding KSF $589,915.50 in fees to be paid from Class Counsel's fee award and $2,650.59 in

costs to be paid from the Settlement Fund; as regards the fee awards, as noted above, counsel are

to be paid 50% of the amounts due upon entry of final judgment and the remaining amounts after

the settlement funds have been fully distributed to the class; accordingly, the case is closed; the

Court will, however, retain jurisdiction over any further disputes arising in connection with the

implementation of the settlement or the payment of fees and costs.
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Dated: New York, New York
       June 27, 2018

                                                    RUBY J. KRAJICK

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